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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA


v.                                             CRIMINAL ACTION NO.
                                               3:04CR00138 (JCH)
MICHAEL R. EDMUNDSON
     Defendant.
                                                MARCH 27, 2008


                             ORDER TO SHOW CAUSE

      The Defendant is hereby ORDERED to SHOW CAUSE, by April 15, 2008, why

the defendant should be granted relief pursuant to 18 U.S.C. § 3582(c)(2) and

994(u), as well as Amendment 706 to the U.S.S. Guidelines.

      The court has reviewed a supplemental Presentence Report prepared by the

Probation Office that suggests the defendant is ineligible because the Amendment

does not lower the applicable guideline range, U.S.S.G. 1B1.10, comment. (n.1.(A)).

The defendant’s guideline range was determined based on his status as a career

offender.



SO ORDERED.

      Dated at Bridgeport, Connecticut this 27th day of March, 2008.




                                          /s/ Janet C. Hall
                                        Janet C. Hall
                                        United States District Court
